
The People of the State of New York, Respondent,
againstEmily Figueroa, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Herbert J. Moses, J. at plea; Lyle E. Frank, J. at sentencing), rendered May 2, 2017, convicting her, upon a plea of guilty, of criminal possession of a forged instrument in the third degree, and sentencing her to three years probation.




Per Curiam.
Judgment of conviction (Herbert J. Moses, J. at plea; Lyle E. Frank, J. at sentencing), rendered May 2, 2017, affirmed. 
We are unpersuaded that the probationary sentence imposed was unduly harsh or severe, and find no extraordinary circumstances warranting a reduction of the sentence in the interest of justice (see People v Fair, 33 AD3d 558 [2006], lv denied 8 NY3d 945 [2007]). Further, defendant was sentenced in accordance with her bargained-for plea and should not now "be heard to complain that [s]he received what [s]he bargained for" (id. at 558, quoting People v Chambers, 123 AD2d 270 [1986]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: June 15, 2018










